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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 SYMBOLOGY INNOVATIONS, LLC,                     §
                                                 §
 Plaintiff,                                      §
                                                 §               Case No. 2:15-cv-01182
 vs.                                             §               PATENT CASE
                                                 §
                                                 §
 STATE FARM MUTUAL                               §
 AUTOMOBILE INSURANCE                            §
 COMPANY,                                        §
 Defendant.                                      §
                                                 §


               MOTION TO DISMISS INDIRECT INFRINGEMENT CLAIMS
                             UNDER RULE 12(B)(6)

         Under Federal Rule 12(b)(6), Defendant State Farm Mutual Automobile Insurance

Company (“State Farm”) moves to dismiss certain claims of the Complaint of Plaintiff

Symbology Innovations, LLC (“Symbology”). Symbology failed to allege sufficient facts to

state claims of contributory infringement and inducement under the controlling standard. State

Farm respectfully asks for dismissal of these claims without prejudice in order to narrow

Symbology’s case to the sole remaining claim of direct infringement. 1

         The Federal Circuit clearly explained the pleading requirement for indirect infringement

in In re Bill of Lading Transmission & Processing Sys. Patent Litig., 681 F.3d 1323, 1337, 1340

(Fed. Cir. 2012). “To state a claim for contributory infringement, therefore, a plaintiff must,

among other things, plead facts that allow an inference that the components sold or offered for



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     Concurrent with and without prejudice to the present motion, State Farm will answer the
allegations of the Complaint as they relate to direct infringement.


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sale have no substantial non-infringing uses.” Id. at 1337. To state a claim for induced

infringement, a plaintiff must, among other things, plead facts that allow an inference that the

defendant “specifically intended [its] customers to infringe the [] patent and knew that the

customer’s acts constituted infringement.” Id. at 1339. “It is well-established that ‘naked

assertions devoid of ’further factual enhancement‘’ are insufficient to state a claim.” U.S.

Ethernet Innovations, LLC v. Cirrus Logic, Inc., Case No. 6:12-CV-366 MHS-JDL, 2013 WL

8482270, at *4 (E.D. Tex. Mar. 6, 2013) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2010)).


I.       SYMBOLOGY FAILED TO ALLEGE SUFFICIENT FACTS SUPPORTING A
         CLAIM OF CONTRIBUTORY INFRINGEMENT

         Symbology stated without support that “Defendant has infringed and continues to

infringe [each patent-in-suit] either directly or indirectly through acts of contributory

infringement . . . .” Complaint, ¶¶ 13, 23, 33. The Complaint offers only the following factual

allegations specific to State Farm:

         14.     Defendant has made, used, and/or printed QR codes on printed and/or
         electronic media, including advertising and packaging, associated with select
         products and/or services. One specific example of Defendant’s activity involves
         the use of QR codes on a website in connection with advertising its Pocket
         Agent® app for mobile banking. A user scanning the QR code is provided with
         information concerning information about app and how to download it. Upon
         being scanned, the QR code remotely transmits information regarding the product
         to the user via a device, such as a smart phone, for example. The use of QR codes
         in this manner infringes at least Claim 1 of the ‘752 Patent.

Complaint, ¶ 14, accord ¶¶ 24, 34.

         In violation of the clear rule of Bill of Lading, Symbology failed to identify allegedly

infringing components and fails to allege facts that allow an inference that the components sold

or offered for sale have no substantial non-infringing uses. Even if the website and Pocket

Agent® app were relevant components, Symbology has not identified them as infringing



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components and has not alleged that they have no substantial non-infringing uses. As a result,

Symbology’s claim of contributory infringement should be dismissed without prejudice.


II.     SYMBOLOGY FAILED TO ALLEGE SUFFICIENT FACTS SUPPORTING A
        CLAIM OF INDUCED INFRINGEMENT

        Symbology stated without support that “Defendant has infringed and continues to

infringe [each patent-in-suit] either directly or indirectly through acts of . . . inducement . . . .”

Complaint, ¶¶ 13, 23, 33. Again, in violation of the clear rule of Bill of Lading, Symbology

failed to plead facts that allow an inference that State Farm specifically intended its customers to

infringe the patent and knew that the customer’s acts constituted infringement. The Complaint

offers only the following factual allegations specific to State Farm:

        14.     Defendant has made, used, and/or printed QR codes on printed and/or
        electronic media, including advertising and packaging, associated with select
        products and/or services. One specific example of Defendant’s activity involves
        the use of QR codes on a website in connection with advertising its Pocket
        Agent® app for mobile banking. A user scanning the QR code is provided with
        information concerning information about app and how to download it. Upon
        being scanned, the QR code remotely transmits information regarding the product
        to the user via a device, such as a smart phone, for example. The use of QR codes
        in this manner infringes at least Claim 1 of the ‘752 Patent.

Complaint, ¶ 14, accord ¶¶ 24, 34. Symbology alleges no facts about State Farm’s knowledge or

intent with regard to infringement by customers or other third parties. As a result, Symbology’s

claim of induced infringement should be dismissed without prejudice.


III.    CONCLUSION

        Symbology has failed to satisfy the pleading standard clearly articulated in Bill of Lading

and should not be allowed to maintain its claims for contributory and induced infringement.

State Farm respectfully requests dismissal without prejudice of those claims.




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Dated: October 28, 2015                  Respectfully submitted,

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                                                   Attorneys for Defendant State Farm Mutual
                                                   Automobile Insurance Company




                               CERTIFICATE OF SERVICE

        I hereby certify that on October 28, 2015, a copy of the foregoing document was filed
electronically using the court’s Electronic Case Management System. Notice of this filing will
be sent electronically to counsel of record using the Court’s electronic notification system.


                                                            /s/ Truman H. Fenton
                                                            Truman H. Fenton




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